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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    §
HEMP INDUSTRIES ASSOCIATION; and RE
                                                    §
BOTANICALS, INC.
                                                    §
            Plaintiffs,                             §
v.                                                  §     Case No. 1:20-cv-02921 (JEB)
                                                    §
                                                    §
UNITED STATES DRUG ENFORCEMENT                      §
ADMINISTRATION and TIMOTHY SHEA, in                 §
his Official Capacity,                              §
             Defendants.


                                    NOTICE OF APPEAL

       Notice is hereby given that the Plaintiffs, Hemp Industries Association and RE Botanicals,

Inc., in the above case appeal to the United States Court of Appeals for the District of Columbia

Circuit from the Order of the District Court entered in this action on May 3, 2021, granting

Defendants’ motion to dismiss and dismissing this case without prejudice.
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Dated this 19th day of May, 2021.

                                    Respectfully submitted,

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